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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 In Re:                                           Case No. 14-01361-JJG-13

 Margaret Rose Smith                              Chapter 13

 Debtor(s).                                       Judge Jeffrey J. Graham

                                CERTIFICATE OF SERVICE

I certify that on June 28, 2019, a copy of the foregoing Response to Notice of Final Cure
Payment was filed electronically. Notice of this filing will be sent to the following party/parties
through the Court’s ECF System. Party/parties may access this filing through the Court’s system:

          Mark S Zuckerberg, Debtor’s Counsel
          filings@mszlaw.com

          John Morgan Hauber, Trustee
          ecfmail@hauber13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on June 28, 2019, a copy of the foregoing Response to Notice of Final Cure
Payment was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Margaret Rose Smith, Debtor
          6450 N Round Barn Rd
          Williamsburg, IN 47393

                                                  Respectfully Submitted,

                                                  /s/ Jon J. Lieberman
                                                  Jon J. Lieberman (OH 0058394)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
